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 Name and address:
  Jason Levin                        Karl M. Tilleman
  Steptoe & Johnson LLP              Alan Bayless Feldman
  633 West 5th Street, Suite 1900    Steptoe & Johnson LLP
  Los Angeles, CA 90071              201 East Washington St., Suite 1600
                                     Phoenix , AZ 85004



Attorneys for Plaintiff, The Icon at Panorama, LLC

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
The Icon at Panorama, LLC                                                  CASE NUMBER:

                                                                                                2:19-CV-00181
                                                          PLAINTIFF(S)
                                     v.

Southwest Regional Council of Carpenters, et al.
                                                                                 NOTICE OF CHANGE OF ATTORNEY
                                                                                BUSINESS OR CONTACT INFORMATION
                                                        DEFENDANT(S)

                                                             INSTRUCTIONS
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If you are counsel of record in a case currently pending in this district and you need to update your business or contact
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Approval of Substitution or Withdrawal of Counsel") or Form G-123 ("Notice of Appearance or Withdrawal of Counsel").

SECTION I - IDENTIFYING INFORMATION

Name: Jason Levin
Current e-mail address of record: jlevin@steptoe.com
Check one:         ✔   Member of the Central District Bar; CA Bar No: 161807                                Admitted pro hac vice
Counsel of record for (if filing in a pending case): Plaintiff, The Icon at Panorama, LLC


If you are an Assistant United States Attorney or Deputy Federal Public Defender in this district, indicate your agency and
office:
                         FPDO                    USAO (specify):     Civil Division   Criminal Division

                                Los Angeles                  Santa Ana                    Riverside

G-06 (11/18)                        NOTICE OF CHANGE OF ATTORNEY BUSINESS OR CONTACT INFORMATION                          Page 1 of 2
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